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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


  HUAWEI TECHNOLOGIES CO., LTD.,
  a Chinese corporation, and
  FUTUREWEI TECHNOLOGIES, INC., a                               No. 4:17-cv-893 ALM
  Texas corporation,

                Plaintiffs,
                                                                Jury Trial Demanded
         v.

  YIREN RONNIE HUANG, an individual, and
  CNEX LABS, INC., a Delaware Corporation,

                Defendants.



                                           ORDER

        Pending before the Court is Defendants’ First Motion for Summary Judgment and/or

 Summary Adjudication on Plaintiffs’ Breach of Contract Claims. After reviewing the relevant

 pleadings, the Court finds that the motion should be DENIED.

        IT IS SO ORDERED.
